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.v. 2:04CR20458_01_M| `N'.C). UF `i"i`\i, .';-;-_'iw.~`n`iS

DARRYL RUDD

Clifton Harviell Retained
Defense Attorney
50 North Front Street, #850

Memphis, TN 38103

 

JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the information on November 18, 2004.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

 

Date Count
Title & Section Nature of Offense Offense Number(s)
Concluded
18 U.S.C. § 1343 and Wire Fraud, Aiding and Abetting 12/31/1999 1

§2

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.
Defendant's Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 10/01/1971 June 9, 2005
Deft’s U.S. lVlarshal No.: 20024-076

Defendant’s l\/lai|ing Address:
5154 lnglewood Blvd., Unit 1

culver, cA 90230 t OM
§Wili t
oN PHiPPs MCCALLA
uN ED ATEs oisTchT JUDGE
June ¢?‘/ ,2005

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Case No: 2:04cr20458-01-lvl| Defendant Name: Darryl RUDD Page 2 ofS
IMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 5 Months.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Nlarsha|.

RETU RN

| have executed this judgment as follows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at , with a Certified copy of this
judgment.
UN|TED STATES l\/lARSl-lAL
By:

 

Deputy U.S. lVlarshal

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Case No: 2:04cr20458-01-|Vll Defendant Name: Darry| RUDD Page 3 of6

SUPERV|SED RELEASE

Upon release from imprisonmentr the defendant shall be on supervised release for
a term of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test Within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No: 2:04cr20458-01-M| Defendant Name: Darryl RUDD Page 4 of 6

11.

12.

13.

law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| lVlonetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|TIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised

release:

1.

The defendant shall participate in the Home Detention program for a period of 5 Months.
During this time, defendant will remain at defendants place of residence except for
employment and other activities approved in advance by the defendant’s Probation Officer.
Defendant will be subject to the standard conditions of Home Detention adopted for use in
the Western District of Tennessee, which may include the requirement to wear an electronic
monitoring device and to follow electronic monitoring procedures specified by the Probatlon
Officer. Further, the defendant shall be required to contribute to the costs of services for
such monitoring not to exceed an amount determined reasonable by the Probation Officer
based on ability to pay (or availability of third party payment) and in conformance with the
Probation Office’s Sliding Scale for Electronic l\/lonitoring Services.

The defendant shall submit to drug and alcohol testing and treatment programs as directed
by the Probation Office.

The defendant shall make full financial disclosure

The defendant shall provide third-party risk notification

The defendant shall consult with the Probation Officer before incurring any debt over the
value of one thousand dollars ($1,000.00) except for loans or advances from family

members

The defendant shall cooperate with DNA collection as directed by the Probation Office.

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Case No: 2:04cr20458-01-M| Defendant Name: Darryl RUDD Page 5 of 6

CR|MINAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00 $153,222.07

 

 

The Specia| Assessment shall be due immediatelyl
FlNE
No fine imposed
REST|TUT|ON

Restitution in the amount of $153,222.07 is hereby ordered The defendant shall
make restitution to the following victims in the amounts listed below.

 

Priority
Total Amount of Order
Name of payee Amount Restitution Ordered or
of Loss Percentage
of Payment

Regions Bank, $44,317.81 $44,317.81
6263 Poplar Avenue,
Suite 250

Memphis, TN 38119

Pacific Premier Bank, $43,464.48 $43,464.48
Attn: Kathen'ne Duncan,

SVP Director of Operations

1600 Sunf|ower Avenue,

2nd Fioor

Costa l'vlesa, CA 92626

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Priority
Tota| Amount of Order
Name of pa!!ee Amount Restitution Ordered or
of Loss Percentage
of Payment

iviortgage Guaranty $31,616.78 $31,616.78
insurance Company,

Attn: Claim #310614

P.O. Box 525

i\/iilwaukee, Wl 53201-0505

chen Federa| Bank FSB, $33,823.00 $33,823.00
Attn: Law Department

1675 Pa|m Beach Lakes

Blvd.

West Pa|m Beach, FL 33401

if the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same uniess,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income.

Unless the court has expressly ordered othenivise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financiai Responsibility Program, are made to the clerk of the
court unless otherwise directed by the court, the probation officer, or the United States attomey.

The defendant shall receive credit for ali payments previously made toward any criminal monetary
penaities imposed

  

uNlTED sTATE DRISTIC COURT - WESTERN D'S'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:04-CR-20458 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

Carroil L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Robert S. Kirk
WARING COX

50 N. Front Street
Ste. 1300

i\/lemphis7 TN 38103

T. Ciifton Harviei

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

i\/lemphis7 TN 38103

Honorabie J on McCaila
US DISTRICT COURT

